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                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION

                                                                       )
    In re:                                                             )     Chapter 11
                                                                       )
    HONX, INC.,1                                                       )     Case No. 22-90035 (MI)
                                                                       )
                              Debtor.                                  )
                                                                       )

              NOTICE OF SERVICE OF SUBPOENA TO WATERS KRAUS & PAUL

             PLEASE TAKE NOTICE that, pursuant to Rule 45 of the Federal Rules of Civil Procedure,

as made applicable hereto by Rule 9016 of the Federal Rules of Bankruptcy Procedure, Debtor

HONX, Inc. will serve a Subpoena to Produce Documents, Information, or Objects on Waters

Kraus & Paul. True and correct copies of the Subpoena and Subpoena Attachment thereto, which

will be served, are attached as exhibits to this notice.




1
       The Debtor in this chapter 11 case, along with the last four digits of the Debtor’s federal tax identification
       number, is HONX, Inc. (2163). The location of the Debtor’s service address in this chapter 11 case is: 1501
       McKinney Street, Houston, Texas, 77010.


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Houston, Texas
December 29, 2022

/s/ Matthew D. Cavenaugh
JACKSON WALKER LLP                               KIRKLAND & ELLIS LLP
Matthew D. Cavenaugh (TX Bar No. 24062656)       KIRKLAND & ELLIS INTERNATIONAL LLP
Jennifer F. Wertz (TX Bar No. 24072822)          Christopher T. Greco, P.C. (admitted pro hac vice)
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1401 McKinney Street, Suite 1900                 601 Lexington Avenue
Houston, TX 77010                                New York, New York 10022
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             jwertz@jw.com                                    matthew.fagen@kirkland.com
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                                                 - and -
Co-Counsel to the Debtor
and Debtor in Possession                         KIRKLAND & ELLIS LLP
                                                 KIRKLAND & ELLIS INTERNATIONAL LLP
                                                 Whitney C. Fogelberg (admitted pro hac vice)
                                                 Jaimie Fedell (TX Bar No. 24093423) (admitted pro hac vice)
                                                 300 North LaSalle
                                                 Chicago, Illinois 60654
                                                 Telephone: (312) 862-2000
                                                 Facsimile: (312) 862-2200
                                                 Email:        whitney.fogelberg@kirkland.com
                                                               jaimie.fedell@kirkland.com

                                                 - and -

                                                 KIRKLAND & ELLIS LLP
                                                 KIRKLAND & ELLIS INTERNATIONAL LLP
                                                 Michael F. Williams, P.C. (admitted pro hac vice)
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                                                 Co-Counsel to the Debtor
                                                 and Debtor in Possession




                                             2
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                               CERTIFICATE OF SERVICE

       On December 29, 2022, I electronically filed the foregoing with the Clerk of Court by using

the CM/ECF system, effecting service on all parties pursuant to Local Rule 5005-1(c).

                                                                       /s/ Matthew D. Cavenaugh
                                                                           Matthew D. Cavenaugh




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         Exhibit 1
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B257 (Form 257 – Subpoena to Produce Documents, Information, or Objects or To Permit Inspection in a Bankruptcy Case or Adversary Proceeding) (12/13)

                                       UNITED STATES BANKRUPTCY COURT
                                                        Texas
                                   Southern District of _________________________________________
  _________________________________________
       HONX Inc.
In re __________________________________________
                                    Debtor
                                                                                               22____
                                                                                     Case No. ___-90035 (MI)
                                                                                                     ______________
          (Complete if issued in an adversary proceeding)
                                                                                              11
                                                                                     Chapter __________
_________________________________________
                                    Plaintiff
                         v.                                                          Adv. Proc. No. ________________
__________________________________________
                                  Defendant

         SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS OR TO PERMIT
         INSPECTION OF PREMISES IN A BANKRUPTCY CASE (OR ADVERSARY PROCEEDING)
        Waters Kraus & Paul
   To: _____________________________________________________________________
                                    (Name of person to whom the subpoena is directed)

   X Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
  documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of
  the material: See Attachment A below.

  PLACE                                                                                                      DATE AND TIME
   Kirkland & Ellis LLP, 4550 Travis Street Dallas, Texas 75205                                               January 12, 2023, at 9:00am CT.



      Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
  other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
  may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.
  PLACE                                                                                                      DATE AND TIME




          The following provisions of Fed. R. Civ. P. 45, made applicable in bankruptcy cases by Fed. R. Bankr. P. 9016, are
  attached – Rule 45(c), relating to the place of compliance; Rule 45(d), relating to your protection as a person subject to a
  subpoena; and Rule 45(e) and 45(g), relating to your duty to respond to this subpoena and the potential consequences of not
  doing so.

  Date: December 29, 2022
                                    CLERK OF COURT

                                                                                     OR
                                    ________________________                                 /s/ Matthew Cavenaugh
                                                                                            ________________________
                                    Signature of Clerk or Deputy Clerk                           Attorney’s signature

  The name, address, email address, and telephone number of the attorney representing HONX, Inc., who issues or requests
  this subpoena, are: Matthew Cavenaugh; Jackson Walker LLP, 1401 McKinney, Ste. 1400 Houston, TX 77010;
  mcavenaugh@jw.com; 713-752-4284.
                                   Notice to the person who issues or requests this subpoena
  If this subpoena commands the production of documents, electronically stored information, or tangible things, or the
  inspection of premises before trial, a notice and a copy of this subpoena must be served on each party before it is served on
  the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
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B257 (Form 257 – Subpoena to Produce Documents, Information, or Objects or To Permit Inspection in a Bankruptcy Case or Adversary Proceeding) (Page 2)



                                                                PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

I received this subpoena for (name of individual and title, if any): ______________________________________________
on (date) __________ .

   I served the subpoena by delivering a copy to the named person as follows: ____________________________________
___________________________________________________________________________________________________
__________________________________ on (date) ___________________ ; or

   I returned the subpoena unexecuted because: ____________________________________________________________
___________________________________________________________________________________________________

Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also tendered to the
witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of $ _______________________ .

 My fees are $ _________ for travel and $_________ for services, for a total of $_________ .


          I declare under penalty of perjury that this information is true and correct.

Date: _______________
                                                                                   ________________________________________________
                                                                                                                Server’s signature

                                                                                   ________________________________________________
                                                                                                              Printed name and title


                                                                                   ________________________________________________
                                                                                                                 Server’s address


Additional information concerning attempted service, etc.:
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B257 (Form 257 – Subpoena to Produce Documents, Information, or Objects or To Permit Inspection in a Bankruptcy Case or Adversary Proceeding) (Page 3)


                            Federal Rule of Civil Procedure 45(c), (d), (e), and (g) (Effective 12/1/13)
                        (made applicable in bankruptcy cases by Rule 9016, Federal Rules of Bankruptcy Procedure)

(c) Place of compliance.                                                                     (ii) disclosing an unretained expert's opinion or information that does
                                                                                       not describe specific occurrences in dispute and results from the expert's
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                    study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                          (C) Specifying Conditions as an Alternative. In the circumstances
    (A) within 100 miles of where the person resides, is employed, or                  described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                             modifying a subpoena, order appearance or production under specified
    (B) within the state where the person resides, is employed, or regularly           conditions if the serving party:
transacts business in person, if the person                                                   (i) shows a substantial need for the testimony or material that cannot
      (i) is a party or a party’s officer; or                                          be otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial                     (ii) ensures that the subpoenaed person will be reasonably
expense.                                                                               compensated.

  (2) For Other Discovery. A subpoena may command:                                     (e) Duties in Responding to a Subpoena.
    (A) production of documents, or electronically stored information, or
things at a place within 100 miles of where the person resides, is employed,             (1) Producing Documents or Electronically Stored Information. These
or regularly transacts business in person; and                                         procedures apply to producing documents or electronically stored
    (B) inspection of premises, at the premises to be inspected.                       information:
                                                                                           (A) Documents. A person responding to a subpoena to produce
(d) Protecting a Person Subject to a Subpoena; Enforcement.
                                                                                       documents must produce them as they are kept in the ordinary course of
                                                                                       business or must organize and label them to correspond to the categories in
      (1) Avoiding Undue Burden or Expense; Sanctions. A party or
                                                                                       the demand.
attorney responsible for issuing and serving a subpoena must take
                                                                                           (B) Form for Producing Electronically Stored Information Not
reasonable steps to avoid imposing undue burden or expense on a person
                                                                                       Specified. If a subpoena does not specify a form for producing
subject to the subpoena. The court for the district where compliance is
                                                                                       electronically stored information, the person responding must produce it in
required must enforce this duty and impose an appropriate sanction —
                                                                                       a form or forms in which it is ordinarily maintained or in a reasonably
which may include lost earnings and reasonable attorney's fees — on a
                                                                                       usable form or forms.
party or attorney who fails to comply.
                                                                                           (C) Electronically Stored Information Produced in Only One Form. The
                                                                                       person responding need not produce the same electronically stored
  (2) Command to Produce Materials or Permit Inspection.
                                                                                       information in more than one form.
    (A) Appearance Not Required. A person commanded to produce
                                                                                           (D) Inaccessible Electronically Stored Information. The person
documents, electronically stored information, or tangible things, or to
                                                                                       responding need not provide discovery of electronically stored information
permit the inspection of premises, need not appear in person at the place of
                                                                                       from sources that the person identifies as not reasonably accessible because
production or inspection unless also commanded to appear for a deposition,
                                                                                       of undue burden or cost. On motion to compel discovery or for a protective
hearing, or trial.
                                                                                       order, the person responding must show that the information is not
    (B) Objections. A person commanded to produce documents or tangible
                                                                                       reasonably accessible because of undue burden or cost. If that showing is
things or to permit inspection may serve on the party or attorney designated
                                                                                       made, the court may nonetheless order discovery from such sources if the
in the subpoena a written objection to inspecting, copying, testing or
                                                                                       requesting party shows good cause, considering the limitations of Rule
sampling any or all of the materials or to inspecting the premises — or to
                                                                                       26(b)(2)(C). The court may specify conditions for the discovery.
producing electronically stored information in the form or forms requested.
The objection must be served before the earlier of the time specified for
                                                                                          (2) Claiming Privilege or Protection.
compliance or 14 days after the subpoena is served. If an objection is made,
                                                                                            (A) Information Withheld. A person withholding subpoenaed
the following rules apply:
                                                                                       information under a claim that it is privileged or subject to protection as
      (i) At any time, on notice to the commanded person, the serving party
                                                                                       trial-preparation material must:
may move the court for the district where compliance is required for an
                                                                                              (i) expressly make the claim; and
order compelling production or inspection.
                                                                                              (ii) describe the nature of the withheld documents, communications,
      (ii) These acts may be required only as directed in the order, and the
                                                                                       or tangible things in a manner that, without revealing information itself
order must protect a person who is neither a party nor a party's officer from
                                                                                       privileged or protected, will enable the parties to assess the claim.
significant expense resulting from compliance.
                                                                                            (B) Information Produced. If information produced in response to a
                                                                                       subpoena is subject to a claim of privilege or of protection as trial-
  (3) Quashing or Modifying a Subpoena.
                                                                                       preparation material, the person making the claim may notify any party that
    (A) When Required. On timely motion, the court for the district where
                                                                                       received the information of the claim and the basis for it. After being
compliance is required must quash or modify a subpoena that:
                                                                                       notified, a party must promptly return, sequester, or destroy the specified
      (i) fails to allow a reasonable time to comply;
                                                                                       information and any copies it has; must not use or disclose the information
      (ii) requires a person to comply beyond the geographical limits
                                                                                       until the claim is resolved; must take reasonable steps to retrieve the
specified in Rule 45(c);
                                                                                       information if the party disclosed it before being notified; and may
      (iii) requires disclosure of privileged or other protected matter, if no
                                                                                       promptly present the information under seal to the court for the district
exception or waiver applies; or
                                                                                       where compliance is required for a determination of the claim. The person
      (iv) subjects a person to undue burden.
                                                                                       who produced the information must preserve the information until the claim
    (B) When Permitted. To protect a person subject to or affected by a
                                                                                       is resolved.
subpoena, the court for the district where compliance is required may, on
                                                                                       …
motion, quash or modify the subpoena if it requires:
                                                                                       (g) Contempt. The court for the district where compliance is required – and
      (i) disclosing a trade secret or other confidential research,
                                                                                       also, after a motion is transferred, the issuing court – may hold in contempt
development, or commercial information; or
                                                                                       a person who, having been served, fails without adequate excuse to obey
                                                                                       the subpoena or an order related to it.


                                          For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013)
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                                     ATTACHMENT A

                                         DEFINITIONS

       Unless otherwise defined, all words and phrases used herein shall be accorded their usual

meaning and shall be interpreted in their common, ordinary sense. As used in the below Requests

and these Definitions and Instructions, the words set forth below shall be defined as follows:

       1.      “Communication” or “Communications” means any written disclosure, transfer, or

exchange of information, data, or opinion, however made, and shall mean, but is not limited to,

any transmittal and/or receipt of information, whether such was formal or informal, and

specifically includes letters, memoranda, electronic mail, and text messages.

       2.      The terms “concern” or “concerning,” in addition to their natural meaning, shall

also mean reflecting, constituting, containing, pertaining, supporting, referring, indicating,

showing, evidencing, describing, discussing, mentioning, bearing upon, comprising, and relating.

       3.      “Document” or “Documents” shall be construed to the fullest extent permitted

under the Federal Rules of Civil Procedure and is used in the broadest sense, meaning all written,

printed, typed, recorded or graphic matter, however produced or reproduced, of every kind and

description, in whatever form (e.g., final and draft versions) in Your actual or constructive

possession, custody, care, or control, including but not limited to all writings, correspondence,

emails, letters, notes, agendas, memoranda, inter-office Communications, reports, projects,

analyses, working papers, charts, debit or credit card or bank account statements, receipts,

calendars, appointment books, diaries, journals, drawings, graphs, photographs, notes of telephone

conversations or meetings, extracts or summaries of other Documents, computer files, computer

printouts, data stored on computer storage disks, hard drives, or networks, text messages, social

media communications, videos, data compilations from which information can be obtained or can


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be translated through detection devices into reasonably useable form, or any other tangible thing.

The term “Document” or “Documents” shall include not only originals but also any copies or

reproductions of all such written, printed, typed, recorded, or graphic matter upon which notations

in writing, print, or otherwise have been made that do not appear in the originals. In addition to

the items in the foregoing list, any comment, notation, strike-out, interlineation, or other alterations

appearing on any Document or any copy of any Document, and not a part of the original text of

such Document, is considered a separate Document, as is any draft or preliminary form of any

Document.

        4.      The terms “include,” “includes,” and “including” mean “including but not limited

to” or “including without limitation.”

        5.      “HONX” shall mean HONX, Inc., and any subsidiary or business segment,

predecessor, successor or assignee, principal, operating division, employees, officers, directors,

agents, representatives, attorneys, accountants, distributors, and any other Person acting on behalf

of or under the direction, authorization, or control of HONX. For the avoidance of doubt, “HONX”

includes predecessors Hess Oil Virgin Island Corp. and Hess Oil New York Corp.

        6.      The “Refinery” means the oil refinery at St. Croix previously owned and operated

by HONX.

        7.      “Person” or “Persons” includes any natural person, custodian of records, firm,

association, partnership, joint venture, corporation, related or associated company, trust, or other

form of legal entity.

        8.      “You” and “Your” shall mean and include Waters Kraus & Paul and any employee,

representative, predecessor, agent, or attorney of Waters Kraus & Paul, including all persons acting
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or purporting to act for, on behalf of, in conjunction with, or who are subject to the direction and

control of Waters Kraus & Paul.

        9.         The words “asbestos-related disease, injury, or illness” or any similar words

include, without limitation, asbestosis, mesothelioma, pleural plaques, pleural thickening, pleural

effusion, lung cancer, laryngeal cancer, gastro-intestinal cancers, or any other conditions

associated with, or allegedly associated with, exposure to asbestos or asbestos-containing products.

        10.        “Asbestos Tort Claim” means any lawsuit, civil action, or legal notice of claim

asserted by an individual (or an individual’s personal representative) against HONX, Hess

Corporation, and/or HOVENSA L.L.C. seeking any measure of money damages for asbestos-

related injuries (both economic and non-economic) allegedly arising from HONX’s ownership

and/or operations of the Refinery, including, without limitation, any actual or threatened claim or

demand asserted against HONX regardless of how, or whether, such claim was resolved (by

settlement, dismissal, or otherwise) and regardless of whether such claim resulted in the filing of

a civil lawsuit.

        11.        “Asbestos Trust Claim” means any request, whether contained in a standalone

claim form or similar document, submitted through an online portal of any kind, or transmitted via

any other route in any other medium, to an individual or entity responsible, in whole or in part, for

reviewing, processing, approving, or paying claims from funds in a trust (or any like legal entity)

designed, in part or in whole, to compensate individuals for exposure to asbestos or asbestos-

containing products. Such asbestos trusts include, but are not limited to: The Babcock & Wilcox

Asbestos Trust, The Combustion Engineering 524(g) Asbestos PI Trust, The Eagle-Picher

Industries Personal Injury Settlement Trust, and the Owens Corning/Fibreboard Asbestos Personal

Injury Trust (either FB Subfund or OC Subfund).
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       12.      “Claimant” means a Person who holds or purports to hold an Asbestos Tort Claim.

       13.     “Secondary Exposure” means exposure to asbestos fibers on the person, clothes, or

other belongings of another individual (the “Primary Individual”) cohabitating with or otherwise

in close proximity to the Claimant.

       14.      “Complaint” means any pleading filed on Your behalf that operates to commence

a lawsuit seeking any measure of money damages for injuries allegedly caused by HONX.

       15.     As used herein, the singular shall include the plural and the present tense shall

include the past tense. The words “and” and “or” shall be construed disjunctively or conjunctively

as necessary to bring within the scope of a Request all documents or things that might otherwise

be construed to be outside its scope. The use of the term “the” shall not be construed as limiting

the scope of any Request.

       16.     The terms “any” and “all” are mutually interchangeable and are meant to

encompass each other.

                                         INSTRUCTIONS

       1.      If any Document responsive to these Requests was, but no longer is, in Your

possession, or subject to Your custody or control, or in existence, state in writing whether: (a) it is

missing or lost; (b) it has been destroyed; (c) it has been transferred voluntarily or involuntarily to

others; or (d) it has been disposed of otherwise. In each instance, explain the circumstances

surrounding such disposition and identify the Person(s) directing or authorizing the same and the

date(s) thereof. Identify each Document by listing its author, his or her address, type (e.g., letter,

memorandum, telegram, chart, photograph), date, subject matter, present location(s) and

custodian(s), and state whether the Document (or a copy) is still in existence.
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       2.      If You object to any portion of the below Requests on the ground of privilege,

answer the non-privileged portion of the Requests by providing such non-privileged information

as is responsive.

       3.      These Requests are continuing requests.         If, after producing the requested

Documents, You obtain or become aware of any additional Documents responsive to these

Requests, You are required to produce such additional Documents.

       4.      The time period for the below Requests is January 1, 1966 through the date of Your

responses.

       5.      A Request shall be deemed to include a request for the entire Document requested,

including any and all file folders within which the Document was contained, transmittal sheets or

memoranda, cover letters, exhibits, enclosures, comments or attachments to the Document in

addition to the Document itself. In the case of email attachments, if either the email or any of its

attachments is responsive, produce the email and all of the corresponding attachments.

       6.      Documents attached to each other should not be separated.

       7.      Documents not otherwise responsive to these Requests shall be produced if such

Documents concern, relate to, mention, discuss, refer to, describe, or explain the Documents which

are called for by these Requests.

                             DOCUMENTS TO BE PRODUCED

REQUEST FOR PRODUCTION NO. 1:

       All Documents concerning Asbestos Trust Claims submitted by, or on behalf of, Claimants,

including such documents that were not ultimately submitted, and including documents concerning

deliberations regarding whether to submit Asbestos Trust Claims.
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REQUEST FOR PRODUCTION NO. 2:

       All death certificates related to any Claimant’s Asbestos Tort Claims.

REQUEST FOR PRODUCTION NO. 3:

       All certificates of official capacity related to any Claimant’s Asbestos Tort Claims.

REQUEST FOR PRODUCTION NO. 3:

       All medical and pharmacy records, including, without limitation, charts, reports, notes, and

billing records for medical treatment received by any Claimant relating to any injuries such

Claimant alleges were caused by HONX.

REQUEST FOR PRODUCTION NO. 4:

       Cover sheets, or the first page bearing the caption, of all Complaints filed by any Claimant

asserting an Asbestos Tort Claim, whether related to HONX or not.

REQUEST FOR PRODUCTION NO. 5:

       All Claimants’ most recent W-2 Form and the first page of all Claimants’ most recent IRS

Form 1040.

REQUEST FOR PRODUCTION NO. 6:

       All worker’s compensation records and/or other Documents reflecting any benefits that

any Claimant applied for and/or received relating to any asbestos-related disease, injury, or illness.

REQUEST FOR PRODUCTION NO. 7:

       All Documents and Communications concerning any Social Security benefits and

payments that any Claimant has applied for or received.

REQUEST FOR PRODUCTION NO. 8:

       All Documents and Communications reflecting any Claimant’s coverage by life, health,

accident, or disability insurance carriers, including Documents sufficient to identify the name and
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address of every company to which any Claimant ever applied for such insurance coverage

(including any group insurance provided by such Claimant’s employer or educational institution),

the name and address of any person, agent, or company through which such application was made,

the date of the application, the type of insurance for which the Claimant applied, whether a policy

was issued or coverage obtained, every policy number assigned to such Claimant, and all charges

billed to any insurance carrier, including Medicaid or Medicare, by any medical professional or

treating facility that rendered medical services for injuries any Claimant alleges were caused by

HONX, including Documents sufficient to show (a) the amount paid by each insurance carrier, (b)

the amount of discounts, write-offs, or adjustments by each carrier, (c) the total charges allowed

by each carrier, (d) the amount paid by each carrier, (e) the amount paid by such Claimant, and (f)

the amount still owed by such Claimant or the insurance carrier.

REQUEST FOR PRODUCTION NO. 9:

       All Documents concerning how any Claimant came to file a Complaint asserting an

Asbestos Tort Claim, including any advertisements, solicitations, or other non-privileged

communications.

REQUEST FOR PRODUCTION NO. 10:

       For Claimants alleging Secondary Exposure Claims, all Documents concerning the

employment of such Claimant’s Primary Individual at the Refinery, whether as an employee or

independent contractor of HONX, or as an employee or independent contractor of an entity

unaffiliated with HONX; including, without limitation, offers of employment, Documents

concerning the termination of such Primary Individual’s employment, the precise occupation

title(s) of such Primary Individual, and such Primary Individual’s employment location(s) within

the Refinery.
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REQUEST FOR PRODUCTION NO. 11:

       All Documents concerning all Claimants’ employment at the Refinery, whether as an

employee or independent contractor of HONX, or as an employee or independent contractor of an

entity unaffiliated with HONX; including, without limitation, offers of employment, Documents

concerning the termination of such Claimant’s employment with HONX, and the precise

occupation title(s) of such Claimant.

REQUEST FOR PRODUCTION NO. 12:

       All Documents concerning any prior payments to any Claimant for Asbestos Tort Claims,

and/or any releases of any Asbestos Tort Claims.

REQUEST FOR PRODUCTION NO. 13:

       All Documents concerning the first diagnosis of any asbestos-related disease for all

Claimants, and any additional or amended diagnoses for the same.

REQUEST FOR PRODUCTION NO. 14:

       All Documents concerning all Claimants’ Pulmonary Function Test (PFT) results.

REQUEST FOR PRODUCTION NO. 15:

       All Documents concerning all Claimants’ International Labour Organization Classification

(ILO) scores.

REQUEST FOR PRODUCTION NO. 16:

       All Documents concerning all Claimants’ smoking history, including both the self-

smoking history and second-hand smoking history as exposed to other smokers who have ever

lived with the Claimant.

REQUEST FOR PRODUCTION NO. 17:
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        Documents sufficient to show each Claimant’s known history of other asbestos exposure.

For each known exposure period, please provide the occupation, industry, company/product

names, year of first exposure, and year of last exposure.

REQUEST FOR PRODUCTION NO. 18:

        All Documents reflecting any Medicaid or Medicare benefits that any Claimant has applied

for or received.

REQUEST FOR PRODUCTION NO. 19:

        Documents reflecting total aggregate payments received by the Claimant for asbestos-

related injuries from all entities that are not trusts, and supporting documentation identifying the

relevant non-trust entity that made the payment.

REQUEST FOR PRODUCTION NO. 20:

        Documents concerning any Claimant’s involvement in the Limetree Bay chapter 11 case.

REQUEST FOR PRODUCTION NO. 21:

        Documents concerning any Claimant’s involvement in the HOVENSA LLC chapter 11

case.

REQUEST FOR PRODUCTION NO. 22:

        Documents sufficient to establish the basis for any Claimant’s alleged lung cancer

diagnosis.

REQUEST FOR PRODUCTION NO. 23:

        Documents concerning any diagnostic information that links any Asbestos Tort Claim

alleging a cancer diagnosis with asbestos.

REQUEST FOR PRODUCTION NO. 24:

        Documents sufficient to identify the Social Security Numbers for each Claimant.
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REQUEST FOR PRODUCTION NO. 25:

      Documents sufficient to identify the diagnosing physician for every injury of each

Claimant.
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Washington, District of Columbia
December 29, 2022

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